                                      IN THE
                           UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF VIRGINIA
                             CHARLOTTESVILLE DIVISION



 UNITED STATES OF AMERICA                 )
                                          )
                                          )
        V.                                )      Case No.: 3:18-cr-25
                                          )
                                          )
 MICHAEL PAUL MISELIS,                    )
      Defendant                           )

     DEFENDANT MICHAEL MISELIS’S ADOPTION OF DEFENDANT BENJAMIN
       DALEY’S REPLY IN SUPPORT OF MOTION TO DISMISS INDICTMENT

        The defendant, Michael Paul Miselis, by counsel, joins in defendant Benjamin

 Daley’s Reply in Support of Motion to Dismiss the Indictment filed herein on March 27,

 2019 (Docket No. 87), for the reasons stated therein and adopts the reasoning as set

 forth therein in its entirety.

        WHEREFORE the defendant, Michael Paul Miselis, respectfully movies this

 Honorable Court to grant the relief sought in defendant Benjamin Daley’s Reply in

 Support of Motion to Dismiss the Indictment, and to grant him all other relief the Court

 deems proper and appropriate.

                                                 MICHAEL PAUL MISELIS

 Respectfully Submitted,



                                                S/Warren (Gene) Cox
                                          By: _______________________
                                                Of Counsel




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 Warren “Gene” Cox, VA Bar #33712
 genecox@coxfedlaw.com
 308 W. Spotswood Avenue
 Elkton, VA 22827
 (540) 742-5385 phone
 (540) 779-0609 fax



                                CERTIFICATE OF SERVICE

        I hereby certify that on April 5, 2019, I electronically filed the foregoing with the
 Clerk of Court using the CM/ECF system that will send notification of such filing to the
 following person as well as other counsel of record.



                              Mr. Christopher Kavanaugh, Esq.
                              Assistant United States Attorney
                                      Federal Building
                                      U.S. Courthouse
                                   255 West Main Street
                                  Charlottesville, VA 22901



                                                                  S/Warren (Gene) Cox

                                                                  __________________
                                                                  Warren “Gene” Cox,
                                                                  VA Bar #33712
                                                                  genecox@coxfedlaw.com
                                                                  308 W.Spotswood Avenue
                                                                  Elkton, VA 22827
                                                                  (540) 742-5385 phone
                                                                  (540) 779-0609 fax




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